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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF INDIANA
                                      HAMMOND DIVISION

IN RE:                                                          )
                                                                )
TIMOTHY MICHAEL BATEY AND                                       )        CASE NO.: 19-20265
BARBARA SUSAN BATEY.                                            )
                                                                )        Chapter 7
                  Debtors.                                      )

                                  PRELIMINARY INVENTORY REPORT
                               AND REQUEST FOR NOTICE TO CREDITORS

         Comes now Kenneth A. Manning, Chapter 7 Trustee, and respectfully shows:

         1.       I am the Trustee for the above-incaptioned Debtors, having been appointed on February 11, 2019.

         2.       As Trustee, I have constructively taken possession of all property shown on the Schedules filed by

                  the Debtor and adopt the same as my preliminary inventory; specifically, I anticipate estate assets

                  and will have approximately $2,000.00, (estimate) as a result of said activities.

         3.       The above monies will be deposited in a certain account at Rabobank.

         4.       Pursuant to Federal Rule of Bankruptcy Procedure 3002 (c) (5), I request that the Bankruptcy

                  Clerk notify creditors that a payment of dividend appears possible in this case.


                                                                /s/ Kenneth A. Manning, Trustee
                                                                Kenneth A. Manning, Trustee
                                                                120 West Clark Street
                                                                Crown Point, Indiana 46307
                                                                219-865-8376

                                          CERTIFICATE OF SERVICE

         I, hereby certify that on March 21, 2019, service of a true and complete copy of the above document was served
by:

Electronic mail service pursuant to Court’s CM/ECF system:
United States Trustee – USTPRegion10.SO.ECF@usdoj.gov
Daniel Ostojic – ostojicandostojic@gmail.com
By U.S. Mail First Class Postage Prepaid:
Timothy Michael Batey and Barbara Batey, 6514 Fairview Ave., Portage, Indiana 46368
                                                         /s/ Kenneth A. Manning
                                                         Kenneth A. Manning
